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                   UNITED STATES DISTRICT COURT
                    DISTRICT OF MASSACHUSETTS

                    CIVIL ACTION NO. 23-12268-RGS

                JOHN B. CRUZ CONSTRUCTION CO., INC

                                      v.

 BEACON COMMUNITIES CORP., BEACON COMMUNITIES’ SERVICES
      LLC, BEACON LENOX LLC, and BEACON LENOX 2 LLC

            MEMORANDUM AND ORDER ON MOTION FOR
                   SUMMARY JUDGMENT

                               March 4, 2025

STEARNS, D.J.

     Before the court is a motion for summary judgment brought

collectively by defendants Beacon Communities Corp., Beacon Communities’

Services LLC, Beacon Lenox LLC, and Beacon Lenox 2 LLC (collectively,

Beacon) against plaintiff John B. Cruz Construction Co., Inc. (Cruz or Cruz

Construction) on all six counts of its Complaint involving a dispute over work

on a City of Boston redevelopment project. For the following reasons, the

court will allow the motion.

                               BACKGROUND

     The facts, viewed in the light most favorable to Cruz Construction as

the nonmoving party, are as follows. In December of 2016, Beacon received

approval from Boston Housing Authority (BHA) to rehabilitate two
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affordable housing developments located on Lenox Street and Camden

Street (the Lenox/Camden Project or the Project) in the Lower Roxbury

neighborhood of Boston. The Lenox/Camden Project was to consist of two

phases, with work on Camden occurring first. The Camden phase of the

Project, which was funded by the state, involved the rehabilitation of 72

housing units. The Lenox phase of the Project, which was federally funded,

involved 285 units and thus the relocation of a greater number of residents.

      After BHA selected Beacon as the developer of the Lenox/Camden

Project, BHA expressed its desire to Beacon to have a minority-owned

business entity (MBE) involved. BHA suggested that Beacon reach out to

Cruz Construction, a black-owned general contractor. Cruz’s sister company,

Cruz Development Corp., had submitted an unsuccessful bid on the Project

in competition with Beacon. In July of 2016, Pamela Goodman, then-

President of Beacon Communities’ Services LLC, contacted John B. Cruz III,

the President of Cruz Construction, to solicit Cruz’s interest in participating

as “the general contractor member” of Beacon’s Project team. Compl. ¶ (Dkt.

# 1-1) 7. John Cruz interpreted Goodman’s inquiry as an invitation to Cruz

Construction to apply for the role of general contractor on the Lenox and

Camden phases of the Project on a negotiated bid price basis – Cruz

Construction would then provide a negotiated bid price that Beacon would


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test for competitiveness. In contrast, Goodman avows that she only intended

to see whether Cruz Construction would be interested in performing pre-

construction services on the Camden and Lenox phases. The Project team

included Waypoint, which had been delegated to provide advisory services

and act as the Project manager, and The Architectural Team (TAT), which

was assigned to provide architectural design work. Both Waypoint and TAT

had previously worked with Beacon, while Cruz Construction and Beacon

had never previously partnered on construction work.

     On April 2, 2018, Beacon solicited general contractor bids for the

Camden phase of the Project by sending a Request for Proposal (RFP) to

three entities, among them Cruz Construction, consistent with BHA’s RFP,

which required Beacon to “issu[e] a Request for Proposals including

schematic design documents to at least three general contractors (GCs) for

Guaranteed Maximum Price (GMP) Proposals.” Starr Decl. (Dkt. # 40), Ex.

13, § F. After receipt of the bids, Beacon chose Cruz Construction as the

general contractor for the Camden phase. Neither the RFP that Beacon sent

out for selection of the general contractor for the Camden phase, nor Cruz

Construction’s responses to that RFP made any reference to the Lenox phase

or contained any bidding information related to services to be performed at




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Lenox. Beacon and Cruz entered into a contract on December 10, 2018, for

Cruz to be general contractor of the Camden phase of the Project.

     After construction on the Camden phase began in January of 2019,

Beacon began receiving complaints from TAT, Waypoint, and Beacon’s own

team about Cruz Construction’s performance as general contractor. These

included Cruz Construction’s failure to provide completed submittals prior

to beginning construction work; failure to maintain construction logs (e.g.,

RFI logs, change order logs) and other documentation; installation of

products other than those specified in the submittals; Project delay; lack of

timely communications with TAT, Waypoint, and Beacon; and poor

workmanship. In March of 2019, Goodman provided John Cruz with some

of the negative performance reports and warned Cruz of the need for

improvement.

     On September 18, 2019, Goodman informed Cruz that Cruz

Construction would not be invited to bid on the larger Lenox phase of the

Project. Cruz Construction responded by stopping any pre-construction

work on the Lenox phase. Beacon, at the time of filing its motion for

summary judgment, had not received an invoice from Cruz Construction for

its Lenox phase pre-construction work.




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      After reviewing a new round of bids to perform general contractor work

on the Lenox phase (from which Cruz Construction was excluded), Beacon

and its development team (which included TAT and Waypoint), selected D.F.

Pray, Inc., a white-owned company, as the general contractor for the Lenox

phase.

      Approximately four years after the fact, Cruz Construction filed this

lawsuit in Suffolk Superior Court. Beacon promptly removed the case to the

federal district court. The Complaint is in six counts: (1) breach of implied

contract; (2) promissory estoppel; (3) quantum meruit; (4) breach of the

implied covenant of good faith and fair dealing; (5) violation of the Unfair

Business Practices Act, General Laws Chapter 93A; and (6) violation of the

Federal Civil Rights Act, 42 U.S.C. § 1981.

                            LEGAL STANDARD

      Summary judgment is appropriate when, based upon the pleadings,

affidavits, and depositions, “there is no genuine dispute as to any material

fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ.

P. 56(a). “To succeed, the moving party must show that there is an absence

of evidence to support the nonmoving party’s position.” Rogers v. Fair, 902

F.2d 140, 143 (1st Cir. 1990). “‘[T]he mere existence of a scintilla of evidence’

is insufficient to defeat a properly supported motion for summary


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judgment.” Torres v. E.I. Dupont De Nemours & Co., 219 F.3d 13, 18 (1st

Cir. 2000), quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 252

(1986).

      The moving party bears the initial burden of establishing the absence

of any material disputes of fact, after which “the burden shifts to the

nonmoving party, who must, with respect to each issue on which she would

bear the burden of proof at trial, demonstrate that a trier of fact could

reasonably resolve that issue in her favor.” Borges ex rel. S.M.B.W. v.

Serrano-Isern, 605 F.3d 1, 5 (1st Cir. 2010). In evaluating a motion for

summary judgment, the court draws “all reasonable inferences in favor of the

non-moving party while ignoring conclusory allegations, improbable

inferences, and unsupported speculation.” Shafmaster v. United States, 707

F.3d 130, 135 (1st Cir. 2013).

                                 DISCUSSION

Breach of Implied Contract (Count I)

      Cruz Construction alleges that Beacon, by refusing to include Cruz

Construction from the bidding to serve as general contractor on the Lenox

phase of the Project, breached an implied contractual promise to hire Cruz

Construction as the general contractor for the Lenox phase of the Project.

Compl. ¶ 21. According to John Cruz, in about July of 2016, he received a


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telephone call from Goodman, who allegedly told him that “Beacon was

inviting Cruz Construction to be the general contractor member of the

Lenox/Camden Project Team.” Cruz Aff. (Dkt. # 53) ¶ 11. As a result of his

phone conversation with Goodman, Cruz believed that Beacon had promised

to engage Cruz Construction as the general contractor for both the Lenox and

Camden phases of the Project, so long as Cruz Construction’s bid price was

less than or within 5% of other bids that Beacon received. See Cruz Aff. (Dkt.

# 53) ¶¶ 11-17; Dkt. # 50 at 29; Dkt. # 63 at 5.

      Goodman, for her part, maintains that she contacted Cruz to ask him

only if Cruz Construction would be interested in performing pre-

construction services on the Camden and Lenox phases. Goodman Aff. (Dkt.

# 45) ¶¶ 5, 6. Goodman contends that she made it clear to John Cruz that,

even if Cruz Construction agreed to provide pre-construction services, there

was no guarantee that it would be invited to bid for or be chosen as the

general contractor for either the Camden or Lenox phases. Id. ¶ 6.

      Under Massachusetts law, “[a] contract implied in fact requires the

same elements as an express contract” — including consideration, mutual

assent, and damages — and differs only in the method of expressing mutual

assent.” Katz v. Pershing, LLC, 672 F.3d 64, 74 (1st Cir. 2012), quoting

Massachusetts Eye & Ear Infirm. v. QLT Phototherapeutics, Inc., 412 F.3d


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215, 230 (1st Cir. 2005). An implied contract “may be inferred from (1) the

conduct of the parties and (2) the relationship of the parties. T.F. v. B.L., 442

Mass. 522, 526-527 (2004). It “requires proof that there was a benefit to the

defendant, that the plaintiff expected the defendant to pay for that benefit,

and that the defendant expected, or a reasonable person should have

expected, that he or she would have to pay for the benefit.” Id. at 527.

      Here there is no evidence of the existence of a binding implied-in-fact

contract guaranteeing the selection of Cruz Construction as the general

contractor for either the Camden or Lenox phases of the Project (much less

both), notwithstanding John Cruz’s unsupported asseverations to the

contrary. “Vague and conclusory statements in an affidavit, do not meet the

specificity requirement of Federal Rule 56.” Posadas de Puerto Rico, Inc. v.

Radin, 856 F.2d 399, 401 (1st Cir. 1988). Here, none of the essential

elements needed to prove the existence of a contract, including “a meeting of

the minds between the parties” and the material terms of the underlying

agreement, are present. See Seifer v. Gov’t Emps. Ins. Co., 2022 WL

1538276, at *2 (1st Cir. May 13, 2022). During his phone conversation with

Goodman, John Cruz does not allege any discussion, much less agreement,

about the conditions governing Cruz Construction’s services, the materials it

would use, the time for performance, or the amount it would be paid for its


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work. See Massachusetts Eye & Ear Infirmary, 412 F.3d at 230 (holding

that “without agreement on the essential terms of the agreement,” there can

be no implied contract claim).

       Moreover, Goodman would not have had the authority to enter into

such an agreement with Cruz without first soliciting bids from at least two

other potential general contractors (which Beacon had yet to do when

Goodman reached out to John Cruz in July of 2016).1

       Cruz Construction entered a contract with Beacon for general

contractor work on the Camden phase of the Project on December 10, 2018.

See Cruz Camden Contract (Dkt. # 40), Ex. 21 at 1. The executed contract

makes no reference to the Lenox phase. See id. Nor did the RFP inviting

Cruz Construction to make its initial bid make any reference to the Lenox

phase or any Lenox-related services. See Dkt. # 40, Ex. 16; Dkt. # 40, Ex.

18.2


       1 It is undisputed that BHA’s Request for Proposals # 1206-01, which

governed selection of a designated developer of the Lenox/Camden
developments, unambiguously made clear that Beacon must “issu[e] a
Request for Proposals including schematic design documents to at least three
general contractors (GCs) for Guaranteed Maximum Price (GMP)
Proposals.” Starr Decl. (Dkt. # 40), Ex. 13, § F. In addition, it mandated that
“[b]eyond qualifications and cost, the primary criteria for GC selection will
be the general conditions, overhead, and project mark-ups.” Id.
       2 It is telling that when Cruz Construction was invited to submit its

initial bid, it never questioned why the RFP was limited to the Camden phase
of the Project. See Kovel Aff. (Dkt. # 47) ¶ 13. And when Cruz Construction
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      On this record, there is no basis on which a reasonable juror could find

that Cruz Construction had been awarded an implied-in-fact contract for it

to serve as the general contractor for the Lenox phase of the Project. The

court consequently will allow Beacon’s motion for summary judgment as to

the claim of breach of implied contract.

Promissory Estoppel (Count II)

      In the alternative to its contractual claim, Cruz Construction makes an

equitable claim of promissory estoppel. See Compl. ¶¶ 24-26. To prove a

claim of promissory estoppel under Massachusetts law, a plaintiff must

allege that:

      (1) a promisor makes a promise which he should have reasonably
      expected to induce action or forbearance of a definite or
      substantial character on the part of the promisee, (2) the promise
      does induce such action or forbearance, and (3) injustice can be
      avoided only by enforcement of the promise.

Neuhoff v. Marvin Lumber and Cedar Co., 370 F.3d 197, 203 (1st Cir. 2004),

quoting Carroll v. Xerox Corp., 294 F.3d 231, 242 (1st Cir. 2002); see also

Upton v. JWP Businessland, 425 Mass. 756, 760 (1997). As Massachusetts

courts have emphasized, “[a]n essential element under the promissory

estoppel theory is that there be an unambiguous promise and that the party



was excluded from bidding on the Lenox phase, it never protested to Beacon
that it believed that Goodman had previously awarded it the general
contractor contract for Lenox.
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to whom the promise was made reasonably relied on the representation.”

Rhode Island Hosp. Trust Nat’l Bank v. Varadian, 419 Mass. 841, 848

(1995).

     As previously discussed, no reasonable fact finder would find that

Goodman made an “unambiguous” promise to John Cruz that Cruz

Construction would be the general contractor for the Lenox phase. Upton,

425 Mass. at 760. And, while the reasonableness of a party’s reliance on a

promise of another is most often a question of fact, it can be one of law,

particularly where, as here, the parties involved are of relatively equal

knowledge and sophistication.       See Cataldo Ambulance Serv., Inc. v.

Chelsea, 426 Mass. 383, 387 (1998). It would not have been within the realm

of reason for John Cruz to rely on his conversation with Goodman as

extending a promise that Cruz Construction would be awarded the general

contract for both the Camden and Lenox phases, especially given his

knowledge of BHA’s requirement that Beacon extend invitations to at least

three qualified bidders.     The court, accordingly, will allow defendants’

motion for summary judgment to the claim for promissory estoppel.3


     3 Beacon also contends that Cruz Construction’s promissory estoppel

and quantum meruit claims (Counts II and III) are barred by laches. See
Dkt. # 38 at 32. “The equitable defense of laches will bar a party from
asserting a claim if the party so unreasonably delayed in bringing the claim
that it caused some injury or prejudice to the defendant.” Polaroid Corp. v.
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Quantum Meruit (Count III)

     As a second alternative theory to breach of implied contract, Cruz

Construction brings a claim for quantum meruit, alleging that because

Beacon utilized Cruz Construction’s pre-construction and construction work

services, Cruz Construction conferred a measurable benefit upon Beacon

with the reasonable expectation of compensation in the form of the profit to

be realized by Cruz Construction as the general contractor on both the

Camden and Lenox phases of the Project. See Compl. ¶ 29.

     In Massachusetts, to recover under a theory of quantum meruit, the

plaintiff must prove: “(1) that it conferred a measurable benefit upon the

defendants; (2) that the [plaintiff] reasonably expected compensation from

the defendants; and (3) that the defendants accepted the benefit with the

knowledge, actual or chargeable, of the claimant’s reasonable expectation.”



The Travelers Indem. Co., 414 Mass. 747, 759-760 (1993); see also Costello
v. United States, 365 U.S. 265, 282 (1961). In Massachusetts, a six-year
statute of limitations applies to unjust enrichment claims based on the same
underlying facts as claims for breach of contract and breach of the implied
duty of good faith and fair dealing. See Mass. Gen. Laws, ch 260, § 2;
Micromuse, Inc. v. Micromuse, PLC, 304 F. Supp. 2d 202, 209 (D. Mass.
2004). Here, the four years that elapsed between Cruz’s alleged injury (not
being invited to bid on the Lenox phase) and Cruz’s Complaint falls within
the presumptively allowed six-year limitation period. The court rejects
Beacon’s suggestion that the court apply laches, see Dkt. # 38 at 33, because
there is nothing here to suggest that there are “extraordinary circumstances”
in which “undue delay combines with prejudice,” In re Am. Bridge Prods.,
Inc., 599 F.3d 1, 6 (1st Cir. 2010).
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Finard & Co., LLC v. Sitt Asset Mgmt., 79 Mass. App. Ct. 226, 229 (2011).

To recover under quantum meruit in a construction case, “a contractor must

prove both substantial performance of the contract and an endeavor in good

faith to perform the work fully.” G4S Tech. LLC v. Mass. Tech. Park Corp.,

479 Mass. 721, 735 (2018).      The amount of recovery “is the fair and

reasonable value of material and labor supplied to the benefiting party.” Id.

at 735. The nonbreaching party is “entitled to be made whole and no more.”

Id, quoting Ficara v. Belleau, 331 Mass. 80, 82 (1954).

     Here, it is undisputed that Beacon paid Cruz Construction in full for its

pre-construction services and general contracting work on the Camden

phase. See Crowley Decl. (Dkt. # 52), Ex. 7 at 38:8-39:1; Dkt. # 50 at 22.

Cruz Construction performed only some pre-construction services on the

Lenox phase of the Project and then ceased work in September of 2019 once

Beacon informed it that it would not be invited to bid on the Lenox contract.

Kovel Aff. (Dkt. # 47) ¶ 8. Both parties had the reasonable expectation that

Cruz Construction would be compensated for its pre-construction work at

Lenox. The court understands that Cruz Construction has not received

payment for its Lenox pre-construction services, but that Beacon has “always

been prepared to pay” Cruz Construction once Cruz Construction submits an




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invoice. See Dkt. # 38 at 31. The court will find the claim moot, given

Beacon’s representation, which the court accepts as binding.

Breach of the Implied Covenant of Good Faith and Fair Dealing
(Count IV)

      Cruz Construction brings a claim for breach of the implied covenant of

good faith and fair dealing, alleging that Beacon misled Cruz Construction

into believing and expecting that it would be the general contractor for the

Lenox project. See Compl. ¶ 33. Massachusetts law implies a covenant of

good faith and fair dealing in every contract; that is, both parties to a contract

implicitly agree to do nothing “that will have the effect of destroying or

injuring the rights of the other party to receive the fruits of the contract.”

Uno Rests., Inc. v. Boston Kenmore Realty Corp., 441 Mass. 376, 381 (2004),

quoting Anthony’s Pier Four, Inc. v. HBC Assocs., 411 Mass. 451, 471 (1991).

However, the covenant cannot “be invoked to create rights and duties not

otherwise provided for in the existing contractual relationship.” Uno Rests.,

Inc., 441 Mass. at 385.

      Having established that no implied contract existed between Cruz and

Beacon for the Lenox phase of the Project, it follows that “there can be no

derivative implied covenant of good faith and fair dealing applicable to these

parties.” See Massachusetts Eye & Ear Infirmary, 412 F.3d at 230 (holding

that without a contract, there is no covenant to be breached because the

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implied covenant of good faith and fair dealing governs conduct of parties

only after they have entered into a contract).

Violation of Chapter 93A (Count V)

      Cruz Construction alleges that Beacon engaged in unfair and deceptive

practices of trade or commerce in violation of Mass. Gen. Laws ch. 93A, § 9,

because Beacon refused to enroll Cruz Construction as the “general

contractor member” of the Lenox project team, prohibited it from bidding,

negotiating, or otherwise competing for the Lenox phase general contract,

and replaced it with a “white-owned entity, D.F. Pray.” Compl. ¶ 36.

      Such a claim “requires a showing of conduct that (1) falls within ‘the

penumbra of some common-law, statutory, or other established concept of

unfairness’; (2) is ‘immoral, unethical, oppressive, or unscrupulous’; and (3)

causes ‘substantial injury to [consumers or other businesspersons].’”

Gattineri v. Wynn MA, LLC, 93 F.4th 505, 511 (1st Cir. 2024). If a Chapter

93A claim is “derivative of other claims which fail as a matter of law, the

Chapter 93A claim must also fail.” Id. at 511; see Park Drive Towing, Inc. v.

City of Revere, 442 Mass. 80, 86 (2004).

      Here, Cruz Construction’s Chapter 93A claim derives entirely from the

same set of facts as its breach of an implied contract promising it the Lenox

phase general contract. Because this claim for breach of implied contract


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failed, meaning that no enforceable contract with respect to the Lenox phase

existed between the parties, so too does the Chapter 93A claim.                See

Gattineri, 93 F.4th at 511.

Violation of 42 U.S.C. § 1981 (Count VI)

      Lastly, Cruz Construction alleges that by denying it, a black-owned

entity, the opportunity to bid, negotiate, or otherwise compete for the Lenox

general contractor work, Beacon violated the Federal Civil Rights Act, 42

U.S.C. § 1981. See Compl. ¶ 41.

      Section 1981 protects the right of all persons within the United States

to make and enforce contracts without respect to race. 42 U.S.C. § 1981. To

state a claim under § 1981, a plaintiff must show that (1) he is a member of a

racial minority; (2) the defendant discriminated against him based on his

race; and (3) the discrimination implicated one or more of the activities listed

in the statute, including the right to make and enforce contracts. Hammond

v. Kmart Corp., 733 F.3d 360, 362 (1st Cir. 2013). However, “[t]o prevail, a

plaintiff must initially plead and ultimately prove that, but for race, it would

not have suffered the loss of a legally protected right.” Comcast Corp. v. Nat’l

Ass’n of African Am.-Owned Media, 589 U.S. 327, 341 (2020).

      There is no direct or circumstantial evidence from which a fact finder

could reasonably infer that “but for” Cruz’s race, Beacon would have invited


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Cruz Construction to bid, negotiate, or otherwise compete for the Lenox

general contractor work. See id.; Privler v. CSX Transportation Inc., 2021

WL 3603334, at *18 (N.D.N.Y. Aug. 13, 2021) (granting summary judgment

because plaintiff failed to provide any direct or circumstantial evidence from

which a fact finder could reasonably infer that plaintiff’s Jewish race was a

but-for cause of defendant’s decision not to hire him). Beacon has provided

a legitimate, nondiscriminatory reason for refusing to extend an invitation to

Cruz Construction to bid on the Lenox phase – Cruz did not perform well on

the Camden project and the Lenox project was significantly larger in size,

scope, and complexity than the Camden project. See Goodman Aff. (Dkt. #

45) ¶ 19.     Beacon received numerous complaints from its internal

development team, TAT, and Waypoint about Cruz Construction’s poor

performance on the Camden phase, its lack of timely communication, the

installation of erroneous products, and the failure to maintain construction

logs, all of which resulted in delay on the overall project.4 See e.g., Starr Aff.


      4 Cruz Construction argues that Beacon, Waypoint, and TAT did not

investigate who was actually at fault for these delays and has proffered a
putative expert report suggesting that not all the delays on the Camden phase
were its fault. See Dkt. # 50 at 22; Crowley Decl. (Dkt. # 52), Ex. 44.
However, Cruz Construction’s report acknowledges that Cruz Construction
was responsible for at least some of the delays at Camden. See Crowley Decl.
(Dkt. # 52), Ex. 44 at 6 (“15 calendar days are concurrent delays (i.e., both
parties [Beacon and Cruz] are responsible).”). In addition, despite the
competing narratives of whose fault the delays actually were, the court’s task
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(Dkt. # 40), Ex. 35 at 1-2; Id., Ex. 44 at 2; Id., Ex. 45 at 3. Beacon team

members also reported that because of the deadlines Cruz Construction

missed, there were serious challenges in dealing with the relocation

specialists, the BHA, the City of Boston, and residents in the Camden

apartments.5 See Irish Aff. (Dkt. # 46) ¶ 6-9; Bouton Aff. (Dkt. # 42) ¶ 5.

Waypoint and TAT, who were to be involved in the Lenox phase of the



“is limited to determining whether [Beacon] believed in the accuracy” of the
complaints. Espinal v. Nat’l Grid NE Holdings 2, LLC, 693 F.3d 31, 35 (1st
Cir. 2012) (holding that a court does “not sit as a super-personnel
department that reexamines an entity’s business decisions.”) There is no
evidence that Beacon or its employees who complained about Cruz
Construction’s poor performance did not reasonably believe the complaints
to be true.
       Cruz Construction also contends that the court should find as a matter
of law that Beacon has “waived any complaint” about Cruz Construction’s
poor performance because Beacon paid Cruz Construction in full for the
work it performed on the Camden phase. Dkt. # 50 at 22. However, Cruz
Construction cites to no case law that forecloses a party from relying on
complaints as a non-discriminatory justification for its actions. The waiver
cases Cruz Construction cites are inapposite as they involve contract actions
in which plaintiffs sought damages arising out of defendants’ alleged failure
to perform fully the contract after plaintiffs made final and full payment of
the contract price. See, e.g., Barton v. Morin, 281 Mass. 98, 99 (1932);
Buttrick Lumber Co. v. Collins, 202 Mass. 413, 419 (1909).

     5 For example, Beacon Senior Vice President of Property Management,

Toya Irish, who was often on site at Camden, attested that her “worst
experience working with a contractor was with Cruz Construction.” Irish Aff.
(Dkt. # 46) ¶ 10. She complained that Cruz Construction failed to meet its
deadlines for tenant relocations, frequently shut off the residents’ power
during construction without prior communication to the residents, and
failed to return her phone calls. Id. ¶¶ 7-9.

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project, informed Beacon that, based on their experience with Cruz

Construction on the Camden phase, Cruz Construction did not have the

capability to successfully complete the much larger Lenox phase. Goodman

Aff. (Dkt. # 45) ¶¶ 15-16. There is no evidence to question the sincerity of

these complaints or Beacon’s good faith belief in their truth, much less to

suggest that race played any role in Beacon’s decision to discontinue work

with Cruz Construction.6

     Thus, the court will allow Beacon’s summary judgment motion as to

the § 1981 claim.

                                 ORDER

     For the foregoing reasons, Beacon’s motion for summary judgment is

ALLOWED.      Summary judgment on Count III is moot given Beacon’s

representation, which the court accepts as binding. Cruz Construction is

ordered to submit an invoice within 60 days of this order to Beacon for the

preliminary work it performed on the Lenox phase of the Project. Beacon




     6 It is worth remembering that it was Beacon that initially recruited

Cruz Construction to the Project because it was a minority owned company,
not the other way around.
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has 60 days upon receipt to review and pay the invoice. The clerk will enter

judgment for Beacon on all counts and close the case.

                                   SO ORDERED.

                                   /s/ Richard G. Stearns
                                   UNITED STATES DISTRICT JUDGE




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